Case 2:19-cv-07846-ES-SCM Document 20 Filed 11/26/19 Page 1 of 4 PageID: 277



                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY


    THOMAS NIEMCZYK                                   Civil Action

                  Plaintiff,                          2: 19-cv-07846-ES-SCM
    v.
                                                      PRETRIAL SCHEDULING ORDER
     PRO CUSTOM SOLAR
             Defendants.


         IT IS on this Tuesday, November 26, 2019,

         ORDERED THAT:

                                     I.      DISCLOSURES

  1. Fed.R.Civ.P. 26 initial disclosures shall be exchanged on or before 10/11/2019.

  2. If parties are served or joined after this scheduling order, such parties must make their
  initial disclosures, and all other parties provide their disclosures to the new party within
  30 days. Fed.R.Civ.P. 26(a)(1)(D).

                                      II.     DISCOVERY

  3.Fact discovery as to the putative class representative(s) is to remain open through
  1/31/2020. Discovery as to Fed.R.Civ.P. 23 class certification is stayed pending he
  motion to dismiss. Class merits discovery is deferred until a decision on certification.
  Discovery should be produced on a rolling basis. All fact and rebuttal expert witness
  depositions must be completed by the close of fact discovery. No discovery is to be
  issued or engaged in beyond that date, except upon application and for good cause
  shown.

  4. The parties may serve interrogatories limited to twenty-five (25) single question, and
  requests for production of documents and requests to admit on or before 10/25/2019, to
  be responded to within thirty (30) days of receipt.

  5. Depositions, limited to ten (10) per side, of fact witnesses and individuals who will
  give lay opinion testimony based on particular competence in an area (including but not
  limited to treating physicians). No objections to questions posed at depositions shall be
  made other than as to lack of foundation, form, or privilege. See Fed.R.Civ.P. 32
  (d)(3)(A). No instruction not to answer shall be given unless privilege is implicated.

  6. Counsel shall confer in a good faith attempt to informally resolve any and all
  discovery disputes before seeking the Court’s intervention. Should informal efforts fail
  to resolve the dispute, the matter shall be brought to the Court’s attention via a joint
Case 2:19-cv-07846-ES-SCM Document 20 Filed 11/26/19 Page 2 of 4 PageID: 278



  letter that sets forth: (a) the specific discovery requested; (b) the response; (c) efforts to
  resolve the dispute; (d) why the complaining party believes the information is relevant
  and why the responding party’s response continues to be deficient; including citations to
  appropriate caselaw; and (e) why the responding party believe the response is sufficient.
  If necessary, the Court will thereafter schedule a telephone conference to resolve the
  dispute.

           Failure by any party to meet and confer in good faith, or to participate in the joint-
  letter protocol described above, absent good cause, will result in the Court deeming that
  party to have waived its right to take any position on the discovery issue(s) in dispute.

        No discovery motion or motion for sanctions for failure to provide discovery shall
  be made without prior leave of Court.

          Discovery disputes (other than those arising during depositions) shall be brought
  to the Court’s attention no later than 60 days before the fact end date. The Court will not
  consider any discovery dispute (other than those arising during depositions)
  brought to its attention after this date. If an unresolved dispute arises at a deposition,
  then the parties shall contact the Chambers of the Undersigned for assistance during the
  deposition.

                    III.    DISCOVERY CONFIDENTIALITY ORDERS

  7. Any proposed discovery confidentiality order shall be presented as a joint
  submission. The proposed form of order shall comply with Local Civil Rule 5.3 and the
  proposed confidentiality order must be clearly designated “Discovery Confidentiality
  Order.”

                               IV.     FUTURE CONFERENCES

  8. There shall be a telephone status conference on 12/2/2019 at 9:15 a.m. Counsel for
  plaintiff shall initiate the call.

  9. The Court may from time to time schedule conferences as may be required, either
  sua sponte or at the request of a party.

  10. Counsel should be prepared to discuss settlement at every conference with the Court.
  The senior attorney in charge of the case must attend all settlement conferences and
  client(s) with full settlement authority must either attend or be immediately available by
  telephone. In cases involving insurance companies and other corporate or business
  entities, it is expected that the executive who will make the final decision on the
  settlement will be the person available for the conference.


  ES                                                                                               2
Case 2:19-cv-07846-ES-SCM Document 20 Filed 11/26/19 Page 3 of 4 PageID: 279



  11. Since all dates set forth herein are established with the assistance and knowledge of
  counsel, there will be no extensions except for good cause shown and by leave of Court,
  even with consent of all counsel.

  12. A copy of every pleading, document or written communication with the Court shall
  be served on all other parties to the action. Any such communication which does not
  recite or contain a certification of such service may be disregarded by the Court.

                                        V.      MOTIONS

  13. Any motion to add new parties or amend pleadings, whether by amended or third-
  party complaint, must be filed not later than 12/6/2019.

  14. Leave is not required for Rule 12(b) motions, motions to seal, or motions to admit
  pro hac vice. No other motions are to be filed without prior written permission from this
  Court. All dispositive motions must first be subject to a dispositive motion pre-hearing.
  Discovery must be completed prior to the filing of a dispositive motion. These
  prerequisites must be met before any motions are filed and the motions will be returned if
  not met. All calendar or dispositive motions, if permitted, shall comply with Local Civil
  Rules 7.1(b) and 56.1.

  15. Dispositive motions, if any, are to be filed by [TO BE DETERMINED].

                                        VI.     EXPERTS

  16. All affirmative expert reports shall be delivered by 3/6/2020. Any such report is to
  be in the form and content as required by Fed.R.Civ.P. 26(a)(2)(B).

  17. All responding expert reports shall be delivered by 4/30/2020.

  18. All expert discovery, including the completion of depositions, shall be completed by
  5/29/2020.

  19. No expert shall testify at trial as to any opinions or base those opinions on facts not
  substantially disclosed in his report.

                          VII.   FINAL PRETRIAL CONFERENCE

  20. A final pretrial conference shall be conducted pursuant to Fed.R.Civ.P. 16(e) on
  TBD.

  21. All counsel are directed to assemble at the office of plaintiff's counsel not later than
  ten (10) days before the pretrial conference to prepare the Final Pretrial Order in the

  ES                                                                                            3
Case 2:19-cv-07846-ES-SCM Document 20 Filed 11/26/19 Page 4 of 4 PageID: 280



  form and content required by the Court. Plaintiff's counsel shall prepare the Pretrial
  Order and shall submit it to all other counsel for approval.

  22. With respect to non-jury trials, each party shall submit to the District Judge and to
  opposing counsel proposed Findings of Fact and Conclusions of Law, trial briefs and any
  hypothetical questions to be put to an expert witness on direct examination.

  23. All counsel are responsible for the timely submission of the Pretrial Order and
  submissions.

  24. The original of the Final Pretrial Order shall be delivered to Chambers not later than
  forty-eight (48) hours before the pretrial conference. All counsel are responsible for the
  timely submission of the Final Pretrial Order.

  25. FAILURE TO FOLLOW THIS ORDER OR ANY SUBSEQUENT
  SCHEDULING ORDERS WILL RESULT IN SANCTIONS PURSUANT TO
  Fed.R.Civ.P. 16(f) and 37.




                                                   11/26/2019 2:20:04 PM


  Original: Clerk of the Court
  Hon. Esther Salas, U.S.D.J.
  cc: All parties
      File




  ES                                                                                       4
